~AO 2458     Case     3:13-cr-30007-PKH
              (Rev. 09/08) Judgment in a Criminal Case Document 44             Filed 11/26/13              Page 1 of 6 PageID #: 268
              Sheet I



                                          UNITED STATES DISTRICT COURT
                        WESTERN                                    District of                                 ARKANSAS
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                v.
                MICHAEL WARRICK                                            Case Number:                       3: 13CR30007-001

                                                                           USM Number:                        11463-010

                                                                           Bruce D. Eddy
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)          One (1), Three (3), Four (4), and Five (5) of the Indictment on June 24, 2013.

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                        Offense Ended             Count
18 U.S.C. §§ 1028(a)(7) & 2          Possession and Use of an Identity Document of Another                    12/04/2012                  1
18 U.S.C. §§ 1028(a)(3) & 2          Possession of Five or More Identification Documents                      12/04/2012                  3
18 U.S.C. §§ 1029(a)(3) & 2          Possession of Fifteen or More Unauthorized Access Devices                12/04/2012                  4
18 u.s.c. §§ 922(g)(l) &             Felon in Possession of a Firearm                                         12/04/2012                  5
924(a)(2)

        The defendant is sentenced as provided in pages 2 through         6                of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.

D The defendant has been found not guilty on count(s)
X Count(s)     Two (2)
               ~~-"'-"-~~~~~~~~~-
                                                          X is     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           November 26 2013
                                                                           Date oflmposition of Judgment


                                                                           /SIP. K. Holmes III
                                                                           Signature of Judge




                                                                           Honorable P. K. Holmes. III, Chief United States District Judge
                                                                           Name and Title of Judge


                                                                           November 26 2013
                                                                           Date




                                                                                                                                                          I
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                    09/08) Judgment in Criminal Case   Document 44           Filed 11/26/13         Page 2 of 6 PageID #: 269
              Sheet 2 - Imprisonment
                                                                                                      Judgment - Page     2   of   6
 DEFENDANT:                     MICHAEL WARRICK
 CASE NUMBER:                   3: 13CR30007-001


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     sixty (60) months on Count 1, sixty (60) months on Count 3, one-hundred and twenty (120) months on
                    Count 4, one-hundred and twenty (120) months on Count 5, all counts to be served concurrently.




  0       The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

  0       The defendant shall surrender to the United States Marshal for this district:

          0     at                                              0    p.m.    on

          0     as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before I p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                            By ---------------------~
                                                                                    DEPUTY UNITED STATES MARSHAL
     AO 2458        Case
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                                Judgment in a Criminal Case   Document 44          Filed 11/26/13          Page 3 of 6 PageID #: 270
                   Sheet 3 - Supervised Release
                                                                                                                Judgment-Page _ .....
                                                                                                                                 3 _ of             6
     DEFENDANT:                     MICHAEL WARRICK
     CASE NUMBER:                   3: 13CR30007-001
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:             three (3) years on Counts 1, 3, 4, & 5,
     to be served concurrently.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
     D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
              future substance abuse. (Check, if applicable.)
     X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

     X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

     D        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
              student, as directed by the probation officer. (Check, if applicable.)
     D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments slieet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
     on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
         1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
         2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
i        4)    the defendant shall support his or her dependents and meet other family responsibilities;
I3       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
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         6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

I        7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

I        8)
         9)
               the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
               the defendant shall not associate with any IJersons engaged in criminal activity and shall not associate with any person convicted of a



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               felony, unless granted permission to do so by the probation officer;
      10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view of the probation officer;
'l    11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
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      13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
 l             record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
 l             defendant s compliance with such notification requirement.
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              Sheet 3C - Supervised Release
                                                                                               Judgment-Page _   ....
                                                                                                                  4 _ of
    DEFENDANT:                MICHAEL WARRICK
    CASE NUMBER:              3: 13CR30007-001

                                            SPECIAL CONDITIONS OF SUPERVISION
    1. The defendant shall submit to testing, evaluation, counseling, or treatment for drug use/abuse at the direction of the U.S.
    Probation Officer.
    2. The defendant shall submit to a search of his person, real and/or personal property, residence, place of business or
    employment, and/or vehicle(s) conducted by the U.S. Probation Office based upon reasonable suspicion of criminal activity or
    a v10lation of any condition of supervised release.
    3. The defendant shall not incur any new debt nor establish any bank or credit accounts unless receiving prior approval from the
    U.S. Probation Office, and shall make any information concerning his financial status available to the probation officer upon
    request.




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              Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page            of
    DEFENDANT:                       MICHAEL WARRICK
    CASE NUMBER:                     3:13CR30007-001
                                                 CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                        Fine                                 Restitution
    TOTALS           $ 400.00                                            $ -0-                               $ 2,713.00


    D The determination ofrestitution is deferred until
         after such determination.
                                                                ---. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    X    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned .Payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

    Name of Payee                                 Total Loss*                      Restitution Ordered                      Priority or Percentage
    James Wheeler                                                                             $1,050.00
    3589 West Farm Rd. 88
    Springfield, MO 65803

    Nancy Redman                                                                               $475.00
    4326 Wooded Hills Rd.
    Harrison, AR 72601

    Janice Kurtz                                                                               $403.00
    2246 W. Williamsburg St.
    Springfield, MO 65810

    Michael Ratliff                                                                            $160.00
    4353 W Tilden St.
    Springfield, MO 65802

    Amy Milson                                                                                 $625.00
    4696 E Farm Rd. 170
    Rogersville, MO 65742

    TOTALS


    D    Restitution amount ordered pursuant to plea agreement $

    D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         X the interest requirement is waived for the           D fine     X restitution.
         D the interest requirement for the          D   fine     D restitution is modified as follows:


    *Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A ofTitle 18 for offenses committed on or after
    September 13, 1994, but before April 23, 1990.


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      AO 2458    Case
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                             Judgment in a Criminal Case    Document 44             Filed 11/26/13           Page 6 of 6 PageID #: 273
                Sheet 6 - Schedule of Payments
                                                                                                                 Judgment - Page       6     of       6
      DEFENDANT:                 MICHAEL WARRICK
      CASE NUMBER:               3: 13CR30007-001

                                                            SCHEDULE OF PAYMENTS

      Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

      A    X    Lump sum payment of$           3 113.00            due immediately, balance due

                D     not later than                                    , or
                X     in accordance          D C,          D D,    D      E, or    X F below; or
      B    D Payment to begin immediately (may be combined with                   oc,        D D, or      D F below); or
      C    D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                               (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

      D    D Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                              (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

      E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

      F    X    Special instructions regarding the payment of criminal monetary penalties:
                If the defendant is unable to pay the full amount immediately, the balance is to be paid in quarterly installments at a rate of at least I 0
                percent of his earnings during incarceration. After incarceration, any unpaid financial penalty will become a special condition of
                ~upervised release ano may be paid in monthly installments of not less than IO percent of the defendant's net monthly household
                mcome.



      Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
      imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial


I     Responsibility Program, are made to the clerk of the court.

      The defendant shall receive credit fo• all payments pmiously made tow"d any criminal monetary penalties imposed.


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      X    Joint and Several

           Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
           and corresponding payee, if appropriate.


I          Diana Warrick, case number 3:13CR30007-002




!I    D    The defendant shall pay the cost of prosecution.

      D    The defendant shall pay the following court cost(s):
' D
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           The defendant shall forfeit the defendant's interest in the following property to the United States:

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I     Pa)'I}lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
      (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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